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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


  EUGENE DESHANE MITCHELL,
  SHAYLEEN MEUCHELL, on their                       CV 19–67–M–DLC
  own behalf and as next friend of B.M.,

                       Plaintiffs,                   ORDER

        vs.

  THE MONTANA CIVIL
  ASSISTANCE GROUP, MICHAEL
  RATZBURG, VAN NESS BAKER,
  JR., and JASON HAACK,

                       Defendants.

       Before the Court is Plaintiffs’ Motion for Leave to File Document Under

Seal Under L.R. 5.2. (Doc. 111.) Plaintiffs request permission to file the medical

records of B.M., a minor, under seal to protect her confidentiality. (Id. at 1.)

Finding good cause,

      IT IS ORDERED that Plaintiffs’ Motion (Doc. 111) is GRANTED. The

medical records (Doc. 113) shall remain sealed.




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DATED this 11th day of January, 2021.




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